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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Civil Action No.

JOHNNY R. SHAFER, Individually and On
Behalf of All Others Similarly Situated,

                                      Plaintiff,

                         v.
                                                       JURY TRIAL DEMANDED

LIGHTNING EMOTORS, INC., TIMOTHY
RICHARD REESER, and TERESA P.
COVINGTON,

                                  Defendants.

______________________________________________________________________________

        CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                              SECURITIES LAWS
______________________________________________________________________________


       Plaintiff Johnny R. Shafer (“Plaintiff”), individually and on behalf of all others similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted by

and through Plaintiff’s attorneys, which included, among other things, a review of the Defendants’

public documents, conference calls and announcements made by Defendants, United States

(“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases published

by and regarding Lightning eMotors, Inc. (“Lightning eMotors” or the “Company”) f/k/a

GigCapital3, Inc. (“GigCapital3”), analysts’ reports and advisories about the Company, and


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information readily obtainable on the Internet.         Plaintiff believes that substantial additional

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for

discovery.

                                    NATURE OF THE ACTION

        1.       This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired Lightning eMotors

securities between May 7, 2021 and August 16, 2021, both dates inclusive (the “Class Period”),

seeking to recover damages caused by Defendants’ violations of the federal securities laws and to

pursue remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its

top officials.

        2.       Lightning eMotors designs, manufactures, and sells electric vehicles.              The

Company produces electric fleet medium- and heavy-duty vehicles, including delivery trucks,

shuttle buses, passenger vans, chassis-cab models, and city transit buses.

        3.       Prior to its business combination with Lightning eMotors, as described below,

GigCapital3 was a special purpose acquisition company (“SPAC”), also known as a blank check

company, incorporated for the purpose of entering into a merger, share exchange, asset acquisition,

share purchase, recapitalization, reorganization, or similar business combination with one or more

businesses or entities.

        4.       On May 6, 2021, Lightning eMotors consummated a business combination (the

“Business Combination”) with Lightning Systems, Inc. (“Lightning Systems”) pursuant to a

certain Business Combination Agreement, dated as of December 10, 2020, by and among



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GigCapital3, Project Power Merger Sub, Inc. (“Merger Sub”), and Lightning Systems (the

“Business Combination Agreement”). In connection with the consummation of the Business

Combination, the Company changed its name from GigCapital3, Inc. to Lightning eMotors, Inc.

On May 7, 2021, the Company’s common stock and warrants began trading on the New York

Stock Exchange (“NYSE”) under the symbols “ZEV” and “ZEV.WS”, respectively.

         5.    Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) the Company

would record a substantially greater net loss per share in the second quarter of 2021 compared to

the second quarter of 2020 and would pull its full year guidance for the remainder of 2021; (ii)

accordingly, the Company materially overstated its financial position and/or prospects; and (iii) as

a result, the Company’s public statements were materially false and misleading at all relevant

times.

         6.    On August 16, 2021, post-market, Lightning eMotors announced the Company’s

financial results for the second quarter of 2021, including a net loss per share of $0.79 compared

to a loss of $0.10 in the second quarter of 2020. The Company also pulled its full year financial

guidance for the remainder of 2021, just days after announcing a multi-year agreement with Forest

River, a Berkshire Hathaway company.

         7.    On this news, Lightning eMotors’s stock price fell $1.63 per share, or 16.93%, to

close at $8.00 per share on August 17, 2021.




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       8.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       9.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder by the

SEC, 17 C.F.R. § 240.10b-5.

       10.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

       11.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Lightning eMotors is headquartered in this Judicial

District, Defendants conduct business in this Judicial District, and a significant portion of

Defendants’ actions took place within this Judicial District.

       12.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications and the facilities of the national securities

markets.

                                             PARTIES

       13.     Plaintiff, as set forth in the attached Certification, acquired Lightning eMotors

securities at artificially inflated prices during the Class Period and was damaged upon the

revelation of the alleged corrective disclosures.




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       14.     Defendant Lightning eMotors is a Delaware corporation with principal executive

offices located at 815 14th Street SW, Suite A100, Loveland, Colorado 80537. Lightning

eMotors’s common stock and warrants trade in an efficient market on the NYSE under the symbols

“ZEV” and “ZEV.WS”, respectively.

       15.     Defendant Timothy Richard Reeser (“Reeser”) has served as Lightning eMotors’s

President, Chief Executive Officer, and as a Director at all relevant times.

       16.     Defendant Teresa P. Covington (“Covington”) has served as Lightning eMotors’s

Chief Financial Officer at all relevant times.

       17.     Defendants Reeser and Covington are sometimes referred to herein as the

“Individual Defendants.”

       18.     As officers and controlling persons of a publicly held company whose common

stock was traded on the NYSE and is governed by the provisions of the federal securities laws,

Defendants each had a duty to promptly disseminate accurate and truthful information with respect

to the Company’s financial condition, performance, growth, operations, financial statements,

business, markets, management, earnings and present and future business prospects, and to correct

any previously issued statements that had become materially misleading or untrue, so that the

market price of the Company’s securities would be based upon truthful and accurate information.

Defendants’ misrepresentations and omissions during the Class Period violated these specific

requirements and obligations.

       19.     Defendants participated in the drafting, preparation and/or approval of the various

public, shareholder and investor reports and other communications complained of herein, were

aware of, or recklessly disregarded, the misstatements contained therein and omissions therefrom,



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and were aware of their materially false and misleading nature.               Because of their Board

membership and/or executive and managerial positions with Lightning eMotors, Defendants each

had access to the adverse undisclosed information about the Company’s financial condition and

performance as particularized herein and knew (or recklessly disregarded) that these adverse facts

rendered the positive representations made by or about Lightning eMotors and its business or

adopted by the Company materially false and misleading.

        20.     Defendants, because of their positions of control and authority as officers and/or

directors of the Company, were able to and did control the content of the various SEC filings, press

releases and other public statements pertaining to the Company issued during the Class Period.

Each defendant was provided with copies of the documents alleged herein to be misleading prior

to or shortly after their issuance and/or had the ability and/or opportunity to prevent their issuance

or cause them to be corrected. Accordingly, each of the Defendants is responsible for the accuracy

of the public reports and releases detailed herein and is therefore primarily liable for the

representations contained therein.

        21.     Defendants are liable for: (i) making false statements; or (ii) failing to disclose

adverse facts known to them about Lightning eMotors. Defendants’ fraudulent scheme and course

of business that operated as a fraud or deceit on purchasers of Lightning eMotors securities was a

success, as it: (i) deceived the investing public regarding Lightning eMotors’s prospects and

business; (ii) artificially inflated the price of Lightning eMotors securities; and (iii) caused Plaintiff

and other members of the Class (as defined below) to purchase Lightning eMotors securities at

artificially inflated prices.




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                               SUBSTANTIVE ALLEGATIONS

                                          Background

        22.      Lightning eMotors designs, manufactures, and sells electric vehicles.      The

Company produces electric fleet medium- and heavy-duty vehicles, including delivery trucks,

shuttle buses, passenger vans, chassis-cab models, and city transit buses.

        23.      GigCapital3 was a SPAC, also known as a blank check company, incorporated for

the purpose of entering into a merger, share exchange, asset acquisition, share purchase,

recapitalization, reorganization, or similar business combination with one or more businesses or

entities.

        24.      On May 6, 2021, Lightning eMotors (f/k/a GigCapital3) consummated a Business

Combination with Lightning Systems pursuant to a certain Business Combination Agreement,

dated as of December 10, 2020, by and among GigCapital3, Merger Sub, and Lightning Systems.

In connection with the consummation of the Business Combination, the Company changed its

name from GigCapital3, Inc. to Lightning eMotors, Inc. On May 7, 2021, the Company’s common

stock and warrants began trading on the NYSE under the symbols “ZEV” and “ZEV.WS”,

respectively.

            Materially False and Misleading Statements Issued During the Class Period

        25.      The Class Period begins on May 7, 2021, when Lightning eMotors’s stock began

trading on the NYSE. On May 6, 2021, after the market closed, Lightning eMotors issued a press

release entitled, “Lightning eMotors and GigCapital3 Announce Closing of Business

Combination.” The press release stated, in relevant part:

        Lightning eMotors has been providing specialized and sustainable fleet solutions
        since 2009, deploying complete zero-emission-vehicle (ZEV) solutions for


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       commercial fleets since 2018 – including Class 3 cargo and passenger vans, Class
       4 and 5 cargo vans and shuttle buses, Class 6 work trucks, school buses, Class 7
       city buses, and Class A motor coaches. The Lightning eMotors team designs,
       engineers, customizes and manufactures zero-emission vehicles to support the wide
       array of fleet customer needs including school buses and ambulances, with a full
       suite of telematics, analytics and charging solutions to simplify the buying and
       ownership experience and maximize uptime and energy efficiency.

       26.       On May 17, 2021, Lightning eMotors issued a press release entitled, “Lightning

eMotors Reports $4.6 million of Revenue in First Quarter of 2021 From Sales of 31 Commercial

Electric Vehicles and Provides 2021 Outlook.” The press release stated, in relevant part:

       Q1 2021 Highlights:

             •   Despite supply chain headwinds, Lightning Systems reported Q1 sales of 31
                 purpose-built, commercial zero emission vehicles.
             •   First quarter 2021 revenue of $4.6 million, up from the first quarter 2020
                 revenue of $0.7 million. This is in line with the quarterly growth required
                 to meet the 2021 revenue guidance below. The Company incurred a loss
                 from operations of $5.3 million during the quarter.
             •   Vehicle sales for the quarter included electric shuttles buses, delivery
                 vehicles, refrigerated trucks, ambulances and RVs across Classes 3, 4 and
                 5, shipped to customers including DHL Express, Fluid Truck, ABC
                 Companies, Meals on Wheels and others, all with 1 Hz telematics providing
                 big-data information on commercial electric vehicles’ range, payload,
                 efficiency and reliability.
             •   Backlog at quarter end of $169 million and sales pipeline of $807 million
                 respectively.

       Tim Reeser, chief executive officer of Lightning eMotors said, “We are delivering
       purpose-built commercial zero-emission vehicles today from a factory that is
       already in production, continuing to add to our two years of customer on-the-road
       experience, validation and data. Q1 2021 continued the fast sales and delivery
       growth that started in 2020. As our production capacity, supply chain
       diversification, automation implementation, and marketing efforts increased, so did
       our abilities to execute deliveries at a record pace. As a result, Lightning eMotors
       is well-positioned to achieve its 2021 forecast of over 500 purpose-built zero-
       emission commercial vehicles. Our results, and the head start that our data,
       production experience and customer validation provide us, demonstrates the value
       of real purchase orders and real deliveries.”




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       Reeser further noted, “We have spent the last 12 years developing our proprietary
       modular hardware and software platforms. We have partnered with fleets all over
       the U.S. to build best-in-class, purpose-built, zero-emission battery-electric and
       fuel-cell-electric commercial solutions to meet the high-level of customization
       required by fleets. In the past year, we have added nearly 100 employees with a
       large focus on our engineering and manufacturing teams, and in the short period
       since announcing our merger with GigCapital3, Lightning eMotors has bolstered
       our executive team with a distinguished chief financial officer, chief procurement
       officer, and chief revenue officer and announced several commercial partnerships
       and new large fleet customers. The capital raised in the merger transaction will
       enable Lightning eMotors to accelerate its growth plans and fulfill significant
       demand from our customers, including some of the most recognizable
       transportation, public safety and e-commerce companies in the U.S. We are excited
       to begin our next chapter as a public company.”

                                               ***

       Full Year 2021 Revenue, Gross Margin, Operating Loss and Vehicle Sales Outlook

       Based on current business conditions, business trends and other factors, for the full
       year 2021 ending Dec. 31, 2021, the Company expects:

             •   Revenues to be in the range of $50 million to $60 million.
             •   Vehicle and powertrain sales of 500 units.
             •   Extreme supply chain shortages will have a significant impact on short-term
                 margin and operating costs, resulting in a small, negative gross margin for
                 the full year. However, margins are expected to progressively improve over
                 the next three quarters from the -16% in Q1 as the Company ramps
                 production and benefits from operating leverage. Operating losses will also
                 be impacted and are expected to be higher each quarter than the first quarter
                 loss of $5.3 million with public company costs as well as higher investments
                 in research and development and sales, general and administrative costs to
                 scale the business.

(Emphasis added.)

       27.       The same day, Lightning eMotors filed a Quarterly Report on Form 10-Q with the

SEC, reporting the Company’s financial and operating results for the quarter ended March 31,

2021 (the “Q1 2021 10-Q”). The Q1 2021 10-Q stated, in relevant part:

               Disclosure controls and procedures are controls and other procedures that
       are designed to ensure that information required to be disclosed in our reports filed


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        or submitted under the Exchange Act is recorded, processed, summarized and
        reported within the time periods specified in the SEC’s rules and forms. Disclosure
        controls and procedures include, without limitation, controls and procedures
        designed to ensure that information required to be disclosed in our reports filed
        or submitted under the Exchange Act is accumulated and communicated to our
        management, including our Chief Executive Officer and Chief Financial
        Officer, to allow timely decisions regarding required disclosure.

        Evaluation of Disclosure Controls and Procedures

                As required by Rules 13a-15 and 15d-15 under the Exchange Act, our Chief
        Executive Officer and Chief Financial Officer carried out an evaluation of the
        effectiveness of the design and operation of our disclosure controls and procedures
        as of March 31, 2021. Based upon their evaluation, our Chief Executive Officer
        and Chief Financial Officer concluded that our disclosure controls and
        procedures (as defined in Rules 13a-15(e) and 15d-15(e) under the Exchange
        Act) were effective.

(Emphasis added.)

        28.     Appended to the Q1 2021 10-Q as exhibits were signed certifications pursuant to

the Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual Defendants, attesting that “[t]he

information contained in [Q1 2021 10-Q] fairly presents, in all material respects, the financial

condition and results of operations of the Company.”

        29.     On May 24, 2021, Lightning eMotors issued a press release entitled, “Lightning

eMotors’ CEO and Leadership Team Ring Opening Bell at New York Stock Exchange.” The

press release stated, in relevant part:

        “Trading on the exchange and ringing the bell on Wall Street are big milestones for
        our company,” said Tim Reeser, CEO of Lightning eMotors. “However, we remain
        focused on the task at hand. In the past six months, we’ve added 22 new fleet
        customers, giving us an overall total of 46 fleet customers. We have vehicles on the
        road in 17 different market segments, including corporate and educational campus
        transit, micro and mass transit, middle-mile and last-mile delivery, airport shuttles,
        food trucks, postal delivery, and electrical services. Many of our customers also are
        placing repeat orders after successful initial deployments.

                                               ***


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        Last week, Lightning eMotors reported first quarter revenue of $4.6 million, having
        delivered vehicles across five specialty vehicle applications despite global supply
        chain challenges.

        30.     On July 8, 2021, Lightning eMotors filed a prospectus on Form 424B3 with the

SEC (the “July 8, 2021 Prospectus”). The July 8, 2021 Prospectus stated, in relevant part:

        We believe we are the only full-range manufacturer of Class 3 to 7 BEV and FCEV
        in the United States and provide end-to-end electrification solutions including
        advanced analytics software, charging solutions (which we refer to as “Energy-as-
        a-Service”) and financing (which we refer to as “EV-as-a-Service”). We combine
        optimized modular software with a customized hardware design that allows us to
        address the diversified opportunities in the markets in which we operate in a cost-
        effective manner with a significant time-to-market advantage. We have also built
        an extensive ecosystem of supply-chain partners and specialty vehicle partners
        which are instrumental to our growth.

                                              ***

        We optimize our supply chain for quality, reliability, and cost. We believe our long-
        term relationships with supply chain partners will be a key driver in our ability to
        scale without unduly sacrificing quality or delivery times and serve as a foundation
        for our growth. Because we have relationships with multiple suppliers for each core
        component of our vehicles, we are able to build and maintain a high degree of
        resilience in our supply chain, which will assist us with mitigating delays. We also
        partner with battery pack manufacturers allowing us to keep the latest battery
        technology in our vehicles at the time of manufacturing. To this end, we have
        recently entered into a three-year contract with our primary battery supplier, Romeo
        Power Technology, that will secure battery inventory without significant
        fluctuations in cost. We believe, that through careful supply chain management and
        the cultivation of long-term relationships with our suppliers, we can reduce our
        cost-of-goods-sold by up to 50% over the next 18 months. Continuous
        communication and partnerships with all of our suppliers has enabled us to maintain
        cutting-edge technology in our vehicles at the lowest possible cost.

        31.     In addition, with respect to market opportunity, the July 8, 2021 Prospectus stated,

in relevant part:

        Our large and growing Total Addressable Market (“TAM”) is comprised of Class 3
        to 7 medium-duty commercial vehicles, including shuttle buses, ambulances,
        delivery vans & trucks, bucket trucks, food trucks and coaches, among others.


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       Regulatory tailwinds and a rapidly improving cost structure have accelerated the
       pace of adoption for electric vehicles, allowing operators to transition fleets to zero-
       emission standards in accelerated timelines. Our modular software and hardware
       solution enables us to serve a variety of attractive niche markets in a cost-effective
       and efficient manner. While other manufacturers and OEMs have focused on one
       or two classes of vehicles, we are currently the only company in the United States
       that is focused on delivering reliable, zero-emission vehicles—in both battery
       electric and fuel-cell electric designs—across Classes 3 to 7. By leveraging, and in
       some cases modifying, existing components, we have built a complete modular
       software and hardware solution that can be installed in medium-duty vehicles
       across classes and types, thus broadening and strengthening our TAM.

       We estimate our TAM across Class 3 to 7 vehicles is roughly $67 billion annually
       worldwide based on 2018 data from the U.S. Department of Energy. The US market
       is approximately $22 billion, while the global offshore market is approximately
       $45 billion, resulting in a total addressable market of approximately $67 billion. In
       the United States, we estimate that a total of 539,000 vehicles are sold annually in
       the U.S. across these 5 classes, with Class 3 accounting for the greatest portion of
       the total, at 301,000 vehicles. Globally, we estimate that an additional 993,000
       vehicles across these classes are sold annually.

       32.       Next, with respect to the Company’s “competitive advantages,” the July 8, 2021

Prospectus stated, in relevant part:

       We believe the following strengths will allow us to maintain and extend our
       leadership position.

                                               ***

             •   First-mover advantage in the rapidly growing commercial ZEV space.
                 We believe that we are ahead of our peers in customer validation with $169
                 million of backlog as of December 31, 2020 and a 36% market share across
                 Class 3 to 6 ZEVs in 2020. Our two-year head start in the commercial ZEV
                 space led to significant progress in customer validation. Commercial fleet
                 customers require high reliability and a full-service network. In addition,
                 they must factor TCO to validate the economic viability of the solution. The
                 total sales cycle therefore typically ranges from 3 to 24 months and requires
                 significant time and effort as well as deep engagement with customers
                 throughout the process. Benefiting from our head start in the market, we
                 already have 121 vehicles on the road as of February 22, 2021 (including
                 12 demonstration and test vehicles) and 30 fleets who have placed purchase
                 orders, 10 of which have placed repeat orders. Through years of effort and
                 cumulative customer validation, we have now reached the tipping point of


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                 an accelerated sales cycles which is expected to fuel our next phase of
                 growth.

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             •   Established strategic partnerships to optimize procurement and go-to-
                 market strategy. Since 2008, we have built an extensive ecosystem of
                 supply-chain partners and specialty vehicle partners. Our suppliers are
                 instrumental to the performance and reliability of our vehicles and enable
                 us to scale in a relatively asset light and cost-effective manner. Our key
                 suppliers include Ford, BorgWarner, Romeo Power, Hino and Delta
                 Electronics, among others, all of which are industry leading manufacturers
                 of critical components like chassis, bodies, batteries and chargers. Plug
                 Power, a leading hydrogen solution manufacturer, is one of our key supply
                 chain partners with which we have established a multidimensional strategic
                 partnership. We work with Plug Power to manufacture fuel cell-powered
                 vehicles. We also leverage their extensive hydrogen fueling infrastructure
                 and collaborate in the go-to-market strategy to sell class 3 through class 7
                 FCEVs.

                        Our specialty vehicle partners are also critical to our rapid growth
                        strategy and enable us to apply our modular technology to an
                        expanding range of markets including recreational vehicles,
                        ambulances, coaches etc. We work closely with OEMs including
                        Winnebago, Rev Group and ABC Companies to electrify vehicles
                        in their target markets that they manufacture. For example, we are
                        the exclusive motor-coach RePower electrification solution
                        provider to the leading motor-coach company, ABC Companies.
                        Our electric RePower solution (replacing ICE with EV in older
                        buses) has a 18-month shorter delivery time and is economically
                        competitive (approximately half the price) compared to many new
                        electric buses and coaches manufactured by other OEMs. Given our
                        demonstrated capabilities, we received a $48 million purchase order
                        from ABC Companies in September 2020.

       33.       Finally, with respect to growth strategy, the July 8, 2021 Prospectus stated, in

relevant part:

             •   Acquire new customers. By leveraging our strategic partners including
                 Plug Power and ABC Companies, we will continue to win new customers
                 and expand into new markets. In addition, despite a relatively small sales
                 staff, we have been able to generate strong revenue growth and a large



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                 pipeline of customers. We also intend to bolster our sales staff as we grow
                 to help improve our pipeline and acquire new customers for our business.

             •   Continue executing land-and-expand. Once customers sign initial
                 contract and purchase orders, we can significantly shorten the sales cycle to
                 win repeat orders from them as we don’t have to repeat the technical and
                 TCO validation periods. We have $169 million of backlog as of December
                 31, 2020, and we believe clear path to $1.

                                                       ***

             •   Expand our global channel relationships. We intend to continue building
                 partnerships to accelerate the development and production of our solutions.
                 Lightning eMotors’ strategic, engineering, production and technology
                 partners augment our internal resources and we intend to leverage their
                 capabilities and infrastructure to bring our solutions to market more quickly
                 and to meet industry standards, without requiring us to invest substantial
                 amounts of capital.

       34.       On August 10, 2021, Lightning eMotors issued a press release entitled, “Lightning

eMotors and Forest River Inc. Reach Multiyear Agreement for up to $850M in Zero-Emission Bus

Technology Plus Charging Products and Services.” The press release stated, in relevant part:

       Lightning eMotors [...], a leading provider of specialty commercial electric vehicles
       for fleets, and Forest River, Inc., a Berkshire Hathaway company […], today
       announced they have entered into a strategic partnership agreement to deploy up to
       7,500 zero-emission shuttle buses.

       The agreement, with a potential estimated value of up to $850 million, calls for
       Lightning eMotors to build fully electric powertrains and provide charging
       products, and services for Forest River over the next four and a half years.
       Lightning eMotors will manufacture the zero-emission-vehicle (“ZEV”)
       powertrain systems at their 231,000 square foot facility in Loveland, Colorado and
       ship the powertrains to Forest River’s factory in Goshen, Indiana, for final assembly
       of the Class 4 and 5 all-electric passenger buses. Forest River is the leading shuttle
       bus market leader in North America, with eight manufacturing buildings and more
       than 500,000 square feet of production space. The Elkhart, Indiana-based company
       has plans to dedicate 100,000 square feet to install Lightning eMotors’ powertrains.

       “This has the potential to be the largest contract ever in the electric shuttle bus
       market, and we believe it will be the catalyst for other large commercial vehicle
       OEMs and fleets to accelerate their adoption of commercial electric vehicles,” said


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         Tim Reeser, CEO of Lightning eMotors. “Forest River’s family of shuttle bus
         companies, including top name brands like Starcraft, Glaval, and Champion,
         maintain a dominant market position selling over 10,000 units per year in the Class
         4 to 6 shuttle-bus space. Forest River’s sales volumes allow us to provide a price
         point to their dealers and customers that results in a very compelling ROI. We
         believe this commitment from the largest shuttle bus manufacturer in the U.S.
         demonstrates that they believe that commercial vehicle customers are now
         demanding Lightning eMotors’ zero-emission vehicles over ICE vehicles.”

         35.    The statements referenced in ¶¶ 25-34 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and compliance policies.               Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) the Company

would record a substantially greater net loss per share in the second quarter of 2021 compared to

the second quarter of 2020 and would pull its full year guidance for the remainder of 2021; (ii)

accordingly, the Company materially overstated its financial position and/or prospects; and (iii) as

a result, the Company’s public statements were materially false and misleading at all relevant

times.

                                          The Truth Emerges

         36.    On August 16, 2021, post-market, Lightning eMotors issued a press release

announcing the Company’s financial results for the second quarter of 2021, including a net loss

per share of $0.79 compared to a loss of $0.10 in the second quarter of 2020. Specifically, the

press release stated, in relevant part:

         Gross loss was $1.1 million compared to $0.6 million in the prior-year period.
         Gross margin improved to -19.0% from -63.4% in the prior year period. The
         improvement in gross margin was largely driven by an increase in revenues,
         improved product mix, fixed cost leverage, and reductions in direct manufacturing
         cost through technology and process improvements.

                                               ***


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        Loss from operations was $17.9 million, compared to $2.7 million during the same
        period in the prior year

        Net loss was $46.1 million, compared to net loss of $2.8 million during the prior-
        year period. Basic and diluted net loss per share was $0.79, compared to $0.10 in
        the prior year period.

        Adjusted loss from operations was $8.7 million, compared to $2.7 million during
        the same period in the prior year. Adjusted net loss was $12.6 million and $2.8
        million during the same period in the prior year.

Moreover, the press release indicated that the Company was pulling its prior guidance for the 2021

year, stating, in relevant part:

        Guidance
        Primarily because of unexpected chassis production disruptions and COVID related
        delays, Lightning is withdrawing its prior guidance for the 2021 year. Although the
        Company no longer expects to meet full year guidance, and is only providing
        guidance for one quarter out at this time, no orders have been cancelled and the
        Company expects to fulfill those orders in future quarters. Based on current
        business conditions, business trends and other factors, for the quarter ending
        September 30, 2021, the Company expects:

              •   Revenues of $4 million to $6 million.
              •   Vehicle and powertrain sales of 28 units to 40 units.
              •   Loss from operations of $12.5 million to $13.6 million.
              •   Adjusted loss from operations of $12 million to $13 million.

        37.       On this news, Lightning eMotors’s stock price fell $1.63 per share, or 16.93%, to

close at $8.00 per share on August 17, 2021.

        38.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                        PLAINTIFF’S CLASS ACTION ALLEGATIONS

        39.       Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons and entities that purchased


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or otherwise acquired Lightning eMotors securities during the Class Period (the “Class”).

Excluded from the Class are Defendants and their families; the officers, directors and affiliates of

Lightning eMotors and members of their immediate families; the legal representatives, heirs,

successors or assigns of any of the foregoing; and any entity in which any defendant has or had a

controlling interest.

          40.   The members of the Class are so numerous that joinder is impracticable. Lightning

eMotors common stock previously traded on the NYSE and had millions of shares outstanding.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through discovery, Plaintiff believes there are hundreds, if not thousands, of members

in the Class. Record owners and other Class members may be identified from records procured

from or maintained by the Company or its transfer agent and may be notified of the pendency of

this action using a form of notice similar to that customarily used in securities class actions.

          41.   Common questions of law and fact exist as to all Class members and predominate

over any questions solely affecting individual Class members, including:

                (a)     whether Defendants violated the Exchange Act, as alleged herein;

                (b)     whether the statements made by Defendants misrepresented material facts

about the business, operations and assets of Lightning eMotors; and

                (c)     whether and to what extent Class members have sustained damages, as well

as the proper measure of damages.

          42.   Plaintiff’s claims are typical of the claims of the Class, as all Class members were

similarly affected by Defendants’ conduct in violation of the Exchange Act as complained of

herein.



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       43.     Plaintiff will fairly and adequately protect the interests of Class members and has

retained counsel competent and experienced in securities class actions.

       44.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy. Because the damages suffered by individual Class members may

be relatively small, the expense and burden of individual litigation make it exceedingly difficult,

if not impossible and impracticable, for Class members to individually redress the wrongs alleged.

There will be no difficulty in managing this action as a class action.

                        LOSS CAUSATION AND ECONOMIC LOSS

       45.     As detailed herein, Defendants engaged in a scheme to deceive the market and a

course of conduct that artificially inflated the price of Lightning eMotors securities and operated

as a fraud or deceit on purchasers or acquirers of Lightning eMotors securities. As detailed above,

when the truth about Defendants’ misconduct was revealed, the value of Lightning eMotors

securities declined precipitously as the prior artificial inflation no longer propped up the price of

Lightning eMotors securities. The declines in the price of Lightning eMotors securities were the

direct result of the nature and extent of Defendants’ fraud finally being revealed to investors and

the market. The timing and magnitude of the share price declines negate any inference that the

loss suffered by Plaintiff was caused by changed market conditions, macroeconomic or industry

factors or Company-specific facts unrelated to Defendants’ fraudulent conduct. The economic

loss, i.e., damages, suffered by Plaintiff, was a direct result of Defendants’ fraudulent scheme to

artificially inflate the price of Lightning eMotors securities and the subsequent significant decline

in the value of Lightning eMotors securities when Defendants’ prior misrepresentations and other

fraudulent conduct were revealed.



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          46.   At all relevant times, Defendants’ materially false and misleading statements or

omissions alleged herein directly or proximately caused the damages suffered by Plaintiff. Those

statements were materially false and misleading through their failure to disclose a true and accurate

picture of the Company’s business and operations, as alleged herein. Before and during the time

of Plaintiff’s purchases or acquisitions of Lightning eMotors securities, Defendants issued

materially false and misleading statements and omitted material facts necessary to make

Defendants’ statements not false or misleading, causing the price of Lightning eMotors securities

to be artificially inflated. Plaintiff and the Class purchased or otherwise acquired Lightning

eMotors securities at artificially inflated prices, causing them to suffer damages as complained of

herein.

                      APPLICABILITY OF PRESUMPTION OF RELIANCE:
                           FRAUD-ON-THE-MARKET DOCTRINE

          47.   At all relevant times, the market for Lightning eMotors securities was an efficient

market for the following reasons, among others:

                (a)      Lightning eMotors’s stock met the requirements for listing, and was listed

and actively traded on NYSE, a highly efficient and automated market;

                (b)      as a regulated issuer, the Company filed periodic public reports with the

SEC;

                (c)      Defendants regularly communicated with public investors via established

market communication mechanisms, including the regular dissemination of press releases on

national circuits of major newswire services, the Internet and other wide-ranging public

disclosures; and




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               (d)     unexpected material news about the Company was rapidly reflected in and

incorporated into the price of the Company’s securities.

        48.    As a result of the foregoing, the market for Lightning eMotors securities promptly

digested current information regarding the Company from publicly available sources and reflected

such information in the price of Lightning eMotors securities. Under these circumstances, a

presumption of reliance applies to Plaintiff’s purchases or acquisitions of Lightning eMotors

securities.

        49.    A presumption of reliance is also appropriate in this action under the Supreme

Court’s holding in Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because Plaintiff’s

claims are based, in significant part, on Defendants’ material omissions. Because this action

involves Defendants’ failure to disclose material adverse information regarding the Company’s

business and operations, positive proof of reliance is not a prerequisite to recovery. All that is

necessary is that the facts withheld be material in the sense that a reasonable investor might have

considered them important in making investment decisions. Given the importance of Defendants’

material misstatements and omissions set forth above, that requirement is satisfied here.

                                      NO SAFE HARBOR

        50.    Defendants’ false or misleading statements alleged to be actionable herein were not

forward-looking statements, or were not identified as such by Defendants, but rather, were

statements of historical and present fact, and thus did not fall within any “Safe Harbor.”

        51.    Defendants’ verbal “Safe Harbor” warnings accompanying any of their oral

forward-looking statements failed to provide meaningful cautionary statements regarding the




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specific facts and circumstances facing the Company, and thus were ineffective to shield those

statements from liability.

       52.     Defendants are also liable for any false or misleading forward-looking statements

pleaded because, at the time each forward-looking statement was made, the speaker knew the

forward-looking statement was false or misleading and the forward-looking statement was

authorized and/or approved by an executive officer of Lightning eMotors who knew that the

forward-looking statement was false. Further, none of the historic or present tense statements

made by Defendants were assumptions underlying or relating to any plan, projection or statement

of future economic performance, as they were not stated to be such assumptions underlying or

relating to any projection or statement of future economic performance when made.

                                           COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants)

       53.     Plaintiff incorporates the foregoing paragraphs by reference.

       54.     Defendants disseminated or approved the false or misleading statements specified

above, which they knew or recklessly disregarded were misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

       55.     These Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in

that they:

               (a)     Employed devices, schemes and artifices to defraud;




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                (b)    Made untrue statements of material fact or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; or

                (c)    Engaged in acts, practices and a course of business that operated as a fraud

or deceit upon Plaintiff and Class members in connection with their purchases or acquisitions of

Lightning eMotors securities.

       56.      Plaintiff has suffered damages in that, in reliance on the integrity of the market,

Plaintiff paid artificially inflated prices for Lightning eMotors securities. Plaintiff would not have

purchased or acquired Lightning eMotors securities at the price paid, or at all, if Plaintiff had been

aware that the market price had been artificially and falsely inflated by Defendants’ misleading

statements.

       57.      As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

Class suffered damages in connection with their purchases of Lightning eMotors securities.

                                            COUNT II

          (Violations of Section 20(a) of the Exchange Act Against All Defendants)

       58.      Plaintiff incorporates the foregoing paragraphs by reference.

       59.      Defendants were control persons within the meaning of Section 20(a) of the

Exchange Act.

       60.      By virtue of their high-level positions, and their ownership and contractual rights,

participation in and/or awareness of the Company’s operations and/or intimate knowledge of the

false and misleading statements filed by the Company with the SEC and disseminated to the

investing public, Defendants had the power to influence and control and did influence and control,



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directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements Plaintiff contends are false and misleading. Defendants

were provided with, or had, unlimited access to copies of the Company’s reports, press releases,

public filings and other statements alleged by Plaintiff to be misleading before and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

the statements to be corrected.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       A.      Determining that this action is a proper class action, designating Plaintiff as Lead

Plaintiff and certifying Plaintiff as class representative under Rule 23 of the Federal Rules of Civil

Procedure and Plaintiff’s counsel as Lead Counsel;

       B.      Awarding Plaintiff and the Class compensatory damages at an amount to be

determined at trial and pre-judgment and post-judgment interest thereon;

       C.      Awarding Plaintiff’s reasonable costs and expenses, including attorneys’ fees; and

       D.      Awarding such other relief as the Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury.

Dated: October 15, 2021                                 Respectfully submitted,

                                                        POMERANTZ LLP

                                                        /s/ Jeremy A. Lieberman
                                                        Jeremy A. Lieberman
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                                                        600 Third Avenue, 20th Floor
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                                          Counsel for Plaintiff




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 Lightning eMotors Inc. (ZEV)                                                   Shafer, Johnny R.

                                          List of Purchases and Sales

     Transaction                                          Number of            Price Per
        Type                    Date                      Shares/Unit         Share/Unit


       Purchase                        8/10/2021                        100                $10.3500
